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 1              IN THE UNITED STATES DISTRICT COURT

 2               FOR THE DISTRICT OF MASSACHUSETTS

 3   * * * * * * * * * * * * *
     SANDRA BOND              *           16CV30050-MGM
 4                            *
     VS.                      *
 5                            *           OCTOBER 2, 2018
     BERKSHIRE BANK and       *           11:15 A.M.
 6   BERKSHIRE HILLS BANCORP, *
     INC.                     *
 7                            *           BOSTON, MA
     * * * * * * * * * * * * *
 8
                BEFORE THE HONORABLE MARK G. MASTROIANNI
 9
                                DISTRICT JUDGE
10
                               (Motion Hearing)
11

12   APPEARANCES:

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 1   2 OCTOBER 2018 -- 11:15 A.M.

 2             THE CLERK:     Your Honor, the matter before the

 3   Court is Civil Action No. 16-30050, Sandra Bond v.

 4   Berkshire Bank, et al.

 5             Court is now in session.         You may be seated.

 6   Would counsel please identify themselves for the Court

 7   and for the record.

 8             MS. EDWARDS:      Good morning, Your Honor.

 9   Angela Edwards on behalf of the Plaintiff.

10             THE COURT:     Hi.

11             MR. SHALOV:     Good morning, Your Honor.

12   Lee Shalov from McLaughlin & Stern, also for the

13   Plaintiff.

14             MR. WILKINSON:       Good morning, Your Honor.

15   Wade Wilkinson from McLaughlin & Stern, also for the

16   Plaintiff.

17             THE COURT:     Okay.    Good morning.

18             MR. FREDERICO:       Good morning, Your Honor.

19   Donald Frederico from Pierce Atwood for Defendants.

20             MR. RITCHIE:      And Lucus Ritchie, also from

21   Pierce Atwood, for the Defendants.

22             THE COURT:     Okay, thank you.       Good morning.

23             All right.     I've reviewed the submissions of the

24   parties, which were very well done, and I appreciate

25   that.    Thank you.
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 1             So, we have the timing scheduling order for the

 2   arguments, so any time you're ready, we can start.

 3   Plaintiff.

 4             MS. EDWARDS:      Thank you, Your Honor.        And good

 5   morning.

 6             My name is Attorney Angela Edwards from the Law

 7   Office of Angela Edwards on behalf of Plaintiff,

 8   Sandra Bond, in this matter.

 9             I'm joined by my co-counsel, Attorney Lee Shalov

10   who will be speaking on the topics of adequacy,

11   typicality and Daubert motions.

12             THE COURT:     All right.

13             MS. EDWARDS:      This is a proposed class action

14   under Federal Rule 23 to recover millions of dollars in

15   overdraft fees that were wrongfully imposed by the

16   Defendant, Berkshire Bank.          Berkshire charged customers

17   overdraft fees on transactions that did not actually

18   exceed or overdraw the actual money in a customer's

19   account but, rather, exceeded an available balance that

20   was systematically calculated and imposed by its

21   automated computer systems, which applied to every

22   single customer in the same way.            And notably,

23   Your Honor, Berkshire Bank violated its disclosures

24   from 2000 until today because all of Berkshire Bank's

25   disclosures have inaccurately reflected how Berkshire
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 1   Bank's systems calculate its overdraft fees.

 2             Berkshire Bank is a Massachusetts bank.             It

 3   operates in six different states, including

 4   Massachusetts.       Overdraft charges have been a primary

 5   source of income for Berkshire Bank that have steadily

 6   increased.      For example, in 2014, they had over

 7   $10 million in overdraft fees, and a significant amount

 8   of these overdraft fees are paid by what Berkshire Bank

 9   refers to internally as frequent flyers.

10             Berkshire Bank had uniform methodologies for

11   charging overdraft fees.          Evidence shows that Berkshire

12   Bank's computerized processing systems impose overdraft

13   fees in exactly the same way and under exactly the same

14   circumstances for all customers.            Berkshire Bank has

15   always used an available-balance methodology to assess

16   its overdraft fees.        Therefore, every customer is

17   damaged by Berkshire Bank by its overdraft fees in the

18   same ways, by their computer processing systems and by

19   their inaccurate and materially misleading disclosures.

20             Berkshire Bank's uniform terms and conditions

21   and disclosures regarding its overdraft fees were

22   comprised basically in four different documents:                  The

23   terms and conditions, the courtesy pay disclosures, the

24   overdraft opt-in forms and some letters to customers.

25   It's important to note, Your Honor, that throughout the
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 1   entire class period, these disclosures were inaccurate

 2   and misleading, as they did not accurately reflect

 3   Berkshire Bank's actual practices of assessing

 4   overdraft fees.       And that's true from the beginning of

 5   the class period to the end of the class period.                  Even

 6   though there were different iterations of the

 7   disclosures, they were all misleading.

 8             Internal Berkshire Bank executives recognized

 9   the inadequacies of the Bank's disclosures.               They knew

10   that their overdraft disclosures posed a risk to the

11   Bank.    Executive Vice-President Deborah Stephenson was

12   concerned about Berkshire Bank's disclosures of

13   available balance, and emailed her colleagues and the

14   higher-ups at the Bank suggesting that, "We should

15   clearly, right upfront, define available balance."

16   Stephenson was so alarmed that, in March of 2015, she

17   believed Berkshire Bank would be cited for "Truth in

18   savings violation and a Regulation E violation" for not

19   being clear about Berkshire Bank's disclosures.

20             Consistent with numerous decisions that have

21   certified classes in overdraft cases like this, this

22   case too should be certified, Your Honor.               The

23   Defendants have completely ignored the slew of

24   multiple, multiple Federal and state class actions that

25   have certified overdraft cases like this.               They have
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 1   just ignored them.

 2             They consist of many different cases, such as

 3   the TD Bank decision, it's a 75 -- very well

 4   thought-out decision by the Judge in that case, 75-page

 5   decision that went down this year; the Gunter v.

 6   United Federal Credit Union case, Your Honor, in 2017;

 7   the "In re:      Checking Account Litigation" cases;

 8   different cases involving different banks with

 9   different entities, such as Wells Fargo, Wachovia Bank,

10   PNC, Comerica, Capital One, Bancorp South, United Bank

11   and many others, Your Honor.

12             Plaintiff moves pursuant to Federal Rule 23 for

13   certification of two classes in this case.               The first

14   is Berkshire Bank's sufficient funds class, which is

15   comprised of all persons with Berkshire Bank consumer

16   checking accounts who, on or after July 1st, 2010, were

17   charged an overdraft fee as a result of Berkshire

18   Bank's practice of assessing overdraft fees when a

19   customer has sufficient funds in his or her account to

20   pay the amount of the posted transaction.

21             Second is the EFTA class, which is comprised of

22   all persons with Berkshire Bank consumer checking

23   accounts who, from July 1st, 2010, were charged an

24   overdraft fee for an ATM or one-time debit card

25   transaction when Berkshire Bank did not:              One, include
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 1   the required header on the Reg. E form; or, two,

 2   explain in the Regulation E form for the method for

 3   assessing overdraft fees; or, three, send written

 4   confirmation to customers of their consent to opt in to

 5   Reg. E.     The EFTA class in particular is seeking only

 6   statutory damages, and it's a strict liability statute

 7   that does not require a proof of any reliance.

 8             Certification is proper under Rule 23 if the

 9   Court, after conducting rigorous analysis, finds the

10   prerequisites of Rule 23 have been satisfied.                The

11   first requirement is numerosity.            In this case,

12   numerosity has not been contested, and the requirement

13   is met if the size of the proposed class is

14   sufficiently large to make joinder impractical, and the

15   Courts in this District have consistently held that

16   40 class members is sufficient for the requirement.                In

17   this case, Berkshire Bank's own records recognize that

18   over 98,000 customers have incurred at least one

19   overdraft fee during the requisite class period.

20             Number two, commonality.         Plaintiffs' claims all

21   satisfy the commonality requirement, and this has been

22   recognized by many, many, many recent decisions ignored

23   by Defendants.       The Rule requires that common issues

24   predominate over any questions affecting individual

25   class members and that a class action is the superior
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 1   method to other methods of fair and efficient

 2   adjudication of the controversy.

 3             Under the US Supreme Court Dukes decision, class

 4   members, "Must depend upon a common contention that is

 5   capable of class-wide resolution, which means that

 6   determination of its truth or its falsity will resolve

 7   an issue that is central to the validity of each of the

 8   claims in one stroke."

 9             The Rule only requires the resolution if common

10   questions affect all or a substantial number of the

11   members of the class.         Your Honor, this prerequisite is

12   qualitative, not quantitative.           A single common issue

13   to members of the class will suffice.             Notably, Courts

14   have routinely found commonality in overdraft cases

15   like this, the extensive TD Bank decision, the Comerica

16   case, the Wachovia Bank case, Your Honor, and many

17   others.     All the recent overdraft cases have

18   consistently found predominance and have satisfied

19   cases in overdraft cases just like this because there

20   were common questions of law and fact to every member

21   of the class.

22             The Berkshire Bank sufficient funds class has

23   five common questions:

24             First, whether Berkshire Bank assesses overdraft

25   fees using available balance, as calculated by
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 1   Berkshire Bank's computer system rather than actual

 2   balance.

 3             Number two, importantly, whether Berkshire Bank

 4   breaches contracts with class members by charging them

 5   overdraft fees when they have sufficient funds in their

 6   accounts.

 7             Three, whether Berkshire Bank fails to provide

 8   class members with complete and accurate disclosures

 9   about its overdraft practices, including the use of

10   aggregated pre-authorization holds.

11             Four, whether Berkshire Bank charges additional

12   overdraft fees when pre-authorization holds settle even

13   though Berkshire Bank already reduced customers'

14   balances by held amounts.

15             And, five, whether Berkshire Bank's alleged

16   misstatements and omissions regarding overdraft fees

17   are material and likely to mislead the class.

18             Regarding the EFTA class, there are four common

19   questions, Your Honor:

20             One, whether Berkshire Bank's opt-in form failed

21   to accurately describe Berkshire Bank's actual

22   overdraft practices.

23             Two, whether Berkshire Bank failed to provide

24   class members with written confirmation of their Reg. E

25   opt-in.
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 1              Three, whether Berkshire Bank obtained

 2    affirmative consent from class members before charging

 3    overdraft fees.

 4              And, four, whether Berkshire Bank should be

 5    assessed statutory penalties for violating the EFTA.

 6              These common questions easily satisfy the

 7    requirement of Federal Rule 23(a)(2) and involve common

 8    predominating issues.        This is key in class

 9    certification.      Three common predominating issues:

10    One, the existence and scope of Berkshire Bank's

11    account agreements; two, Berkshire Bank's automated

12    computer systems and how they assess overdraft fees;

13    and, three, the adequacy of Berkshire Bank's

14    disclosures.      In this case, all of Plaintiffs' claims

15    have common themes and common questions, the hallmark

16    of predominance.

17              In TD Bank, the Court found predominance when

18    the Bank's "checking account policies and procedures

19    were governed by form contracts with terms applicable

20    to Plaintiff and class members alike and from the

21    context of computer-controlled processing systems that

22    treat all checking account customers and transactions

23    alike."

24              Similarly, Berkshire Bank utilized standardized

25    terms and conditions in overdraft disclosures and
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 1    computer systems program precisely the same for every

 2    Berkshire Bank customer when imposing overdraft fees on

 3    class members who had sufficient funds in their

 4    account.     Individual questions raised by Defendants do

 5    not undermine predominance.          These same tired arguments

 6    have been soundly rejected by other Courts in overdraft

 7    cases like this, such as TD Bank, for one example.

 8             Individual damage questions also fail to defeat

 9    predominance because damages "are measurable class-wide

10    using common methodology."          Courts routinely recognize

11    that common issues predominate when Defendants' own

12    records can be used to identify class members and

13    calculate damages, such as TD Bank.            That is exactly

14    what Plaintiffs' expert, Dr. David, concluded in this

15    case.

16             Dr. Jesse David, whose report has been

17    submitted, has explained that Berkshire Bank's data can

18    be used in a formulaic manner for him to calculate

19    damages on a class-wide base.           This measure of damages

20    has routinely been adopted in overdraft cases such as

21    this and have concluded that customers' "consent,

22    reliance and knowledge are irrelevant in assessing

23    damages on a class-wide basis," as the TD Bank Court

24    had concluded.      This is because, as Berkshire's own

25    experts have conceded, Berkshire Bank's computer system
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 1    is structured to automatically assess overdraft fees

 2    regardless of a customer's knowledge or understanding

 3    of how or when fees are imposed.

 4             Berkshire Bank's substantially similar

 5    disclosures render Plaintiffs' contract claims well

 6    suited to a finding of predominance.             Berkshire Bank's

 7    materially uniform contracts render Plaintiffs'

 8    contract-based claims perfectly suited for a finding of

 9    predominance in this case.          Like in TD Bank, Berkshire

10    Bank's contracts are contracts of adhesion involving

11    non-negotiable terms and vast bargaining and

12    informational imbalances between the parties.

13             As the TD Bank Court reasoned, "If there is any

14    type of standardized agreement that ought to be

15    interpreted uniformly, it is a consumer checking

16    account agreement."        Berkshire's overdraft policy was

17    applied to every Berkshire customer.             There was no

18    option for a customer to elect the use of actual

19    balance versus available balance or negotiate, changing

20    how Berkshire Bank systematically determined available

21    balance and overdrafts.         It was done systematically.

22    It's automatically by a computer software program.

23             Berkshire Bank's claims that individuals' issues

24    predominate because there were different versions of

25    their disclosures is a red herring.            The reality is
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 1    that, throughout the class period, all of these

 2    disclosures failed to accurately reflect Berkshire

 3    Bank's actual practices and contained inaccurate

 4    information about how Berkshire Bank's overdraft fees

 5    were assessed -- this is critical -- and also

 6    inaccurate information about how Berkshire Bank's

 7    payment order worked, which also directly affected

 8    overdrafts.

 9             These, Your Honor, are the key terms and the key

10    issues in this case, as opposed to the extraneous and

11    irrelevant information that Defendants allege changed.

12    Overdraft cases have routinely held that, while there

13    may be some individual issues, they recognize that,

14    these individual variations will not predominate

15    over the pervasive commonality of the Bank's practices

16    and the Bank's practices' adverse impact on many,

17    many thousands of depositors.           The Union Bank case

18    cited that, also citing another case, Gutierrez v.

19    Wells Fargo.

20             Even with several or different iterations of

21    disclosures, Your Honor, the common question remains

22    whether the disclosures accurately reflect Berkshire

23    Bank's practices.       What Defendants are suggesting, the

24    fact that they changed some contract language

25    throughout the class period, is a perversity of the
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 1    class action system, claiming that, because they

 2    changed their disclosures, they should get a free pass

 3    and leave Plaintiff and the class with nothing, despite

 4    the fact that they've breached all of their contracts

 5    with customers from 2010 until today, and their

 6    disclosures were unfair, they were deceptive, and they

 7    resulted in millions of dollars of improper overdraft

 8    fees to Plaintiff and the class.

 9             Your Honor, this is simple.          Jurors can be given

10    and will be given the disclosures, all iterations, in

11    one binder with the operative language highlighted and

12    are intelligent enough to make assessments about

13    whether the language is actionable or not.              For

14    example, number one, is the 2010 iteration actionable

15    based upon the evidence of Berkshire Bank's actual

16    practices?     They can say yes, or they can say no.

17    Number two, they can go to the next iteration, Is this

18    iteration actionable?        And so on and so forth.

19             The question still remains:          Does the

20    disclosure, at whatever time it may be in effect,

21    sufficiently or insufficiently disclose Berkshire

22    Bank's actual practices in assessing overdraft fees?

23    Different iterations are not a reason to deny a class

24    in this case.

25             The bottom line is that, like in TD Bank,
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 1    predominance is satisfied because Berkshire Bank's

 2    "account balances and practices were governed by form

 3    contracts with terms applicable to Plaintiff and class

 4    members alike and from the context of

 5    computer-controlled processing systems that treats all

 6    checking account customers and transactions in like

 7    fashion."

 8             I'm going to wrap up because I'm going to have

 9    Attorney Shalov --

10             THE COURT:      That's fine.

11             MS. EDWARDS:      So, I thank you for your time,

12    Your Honor, but the bottom line is that, as briefed in

13    Plaintiffs' submissions -- I'm sorry, Your Honor.                 We

14    had an issue with the timing.           I thought I had to wrap

15    up, but I have been told I have ten additional minutes.

16             THE COURT:      Okay.

17             MS. EDWARDS:      So, my apologies for the

18    interruption.

19             THE COURT:      No.     Go right ahead.

20             MS. EDWARDS:      So, just to backtrack for a

21    minute, the issue is whether the Bank used form

22    contracts and disclosures in conjunction with a

23    centralized computer system that imposed overdraft fees

24    on every customer in exactly the same way.

25             Plaintiffs' conversion and unjust enrichment
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 1    claims also meet the predominance requirement.

 2    Regarding conversion, as articulated in TD Bank, "Given

 3    the uniform automated processes at issue, it is clear

 4    that the questions relevant to whether the Bank's

 5    taking or detention of funds was wrongful can be

 6    answered on a class-wide basis," adding that the

 7    resolution of these questions apply to and will resolve

 8    the claims of all class members "irrespective of any

 9    individual knowledge, intent or understanding on the

10    part of the class members."

11             Regarding unjust enrichment, similarly, the

12    TD Bank Court dismissed the idea that individual proof

13    would be relevant to unjust enrichment claims "because

14    the questions relevant to the unjust enrichment claim

15    relate to uniform corporate policies and practices, and

16    the Court joins other Courts that have found the

17    predominance requirement satisfied for unjust

18    enrichment cases in similar context."

19             Similarly, Plaintiffs' 93A claim meets the

20    predominance requirement.          Defendants' sole opposition

21    to Plaintiffs' 93A claim is that the statute requires

22    detrimental reliance.        Defendants have heavily relied

23    and spent many, many pages of their briefing on

24    individual experiences and circumstances.              These are

25    red herrings, Your Honor, and completely irrelevant.
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 1    The First Circuit and numerous Districts in this

 2    Circuit have expressly rejected that proposition.                 All

 3    that is required is a causal connection between the

 4    deception and the loss, and Plaintiffs have shown that

 5    here.

 6             Plaintiffs may assert claims also on behalf of

 7    absent class members under the consumer protection

 8    statutes of other states.          Multi-state laws do not

 9    preclude predominance.         Courts routinely certify

10    classes involving the application of multi-state laws,

11    finding that the differences in state laws can be

12    appropriately managed when central facts are common to

13    the class.

14             A consumer may maintain a class action on behalf

15    of a nationwide class involving different states' laws

16    regardless of whether the Plaintiff herself has

17    individual standing to assert the claims, provided the

18    claims have similar characteristics.             Your Honor, this

19    is well-settled authority.

20             Plaintiff Bond may properly assert defective

21    practices claims for consumer protection in other

22    states, as those claims are based on the same essential

23    facts and characteristics.          That would be the

24    utilization of a centralized automated computer system

25    that imposes overdraft fees and systematically imposes
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 1    overdraft fees when customers exceed their available

 2    balance even when they have enough money in their

 3    account.

 4             Berkshire Bank's affirmative defenses do not

 5    defeat predominance.        Defendants' claims that their

 6    individual knowledge mantra precludes class

 7    certification, such as secret refunds or customers

 8    intentionally overdrawing their account, are complete

 9    completely irrelevant.         These arguments about

10    affirmative defenses fail for the same reasons I have

11    already articulated, and most importantly, Your Honor,

12    every recent overdraft fee decision has rejected that

13    idea.    TD Bank, the checking account -- In re: Checking

14    Account Overdraft litigation cases, the Comerica case,

15    the United Bank case, even the TD Bank case back in

16    2012, and this Court should follow as well.

17             A class action is superior to other methods of

18    adjudication.      The second part of Rule 23(b)(3)

19    analyzes whether a class action is superior to "other

20    methods for fairly and efficiently adjudicating the

21    controversy."      The superiority requirement ensures that

22    the resolution by class action will achieve economies

23    of time, effort and expense.          Defendants' only

24    objection to this seems to be manageability for the

25    same reason that they claim predominance is not
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 1    satisfied.     They cite to different contracts, in other

 2    words, Your Honor, give us a free pass because we

 3    changed some language about how we disclosed

 4    overdrafts, so too unmanageable.

 5             Well, juries are a lot smarter than that, and we

 6    have the actual documents, can highlight the actual

 7    language, and they can go through each one individually

 8    and say, Did this violate the Bank's policies,

 9    practices and procedures or not?           And make that

10    determination.      It is not a reason to deny

11    certification, and it is certainly not a reason to say

12    that the class action mechanism is not superior in this

13    case.

14             Multi-state laws also do not preclude

15    predominance.      In fact, Courts regularly certify

16    classes involving the application of multi-state laws,

17    finding that the differences in state laws can be

18    appropriately managed when central facts are common to

19    the class.     If there are no material conflicts among

20    the states, a finding of complete state law uniformity

21    is unnecessary.       All that is required is that the

22    different state law claims be subdivided into

23    subgroups, and numerous Courts, including overdraft

24    cases like this and other class cases, have utilized

25    special verdict forms to manage class actions involving
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 1    multiple state laws.        And we have done that in your

 2    case, Your Honor.       We have submitted an extensive trial

 3    plan that is attached as Appendix 2, and it supports

 4    the applicable state laws and divides them into

 5    subclasses with materially identical legal standards.

 6             Also, Plaintiff has submitted special verdict

 7    forms that articulate the element of each cause of

 8    action and identified minor state law variances.                  The

 9    bottom line is that, regardless of application of

10    multi-state laws, you still have common issues of fact

11    and law that will remain the primary focus of this

12    litigation.      Therefore, a class action is superior.

13    The classes are also ascertainable by the Defendants'

14    own records in this case, and we contend that

15    ascertainability has been met.           And the Plaintiffs'

16    expert concluded that he can identify class members on

17    a systematic basis from Berkshire Bank's own

18    transactional records.

19             Plaintiffs' counsel should be appointed class

20    action counsel in this case, Your Honor.              Federal

21    Rule 23 also requires -- provides that, in certifying a

22    class action case, the Court must appoint class

23    counsel.     In this case, we propose that, and Plaintiff

24    proposes, that McLaughlin & Stern and the Law Office of

25    Angela Edwards be appointed class counsel.
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 1             Thank you, Your Honor.         I will turn over to

 2    Attorney Shalov for the remainder of the argument.

 3    Thank you.

 4             THE COURT:      All right.     Thank you.

 5             MR. SHALOV:      Good morning, Your Honor.

 6    Lee Shalov from McLaughlin & Stern for the Plaintiff.

 7             THE COURT:      Good morning.

 8             MR. SHALOV:      Good morning.

 9             I'm going to address the typicality requirement,

10    which is Federal Rule 23(a)(3), and also the Daubert

11    motion as to the Defendants' expert.

12             Rule 23(a)(3) simply says that the claims of the

13    Plaintiff have to be typical of the claims of absent

14    class members, and what that means is that the claims

15    have to arise out of a common course of conduct and

16    that the claims need to be similar.            The Rule does not

17    require that the claims be identical.             The Rule does

18    not require that the factual circumstances associated

19    with the Plaintiff have to be the same as absent class

20    members.

21             The Rule does not prohibit outliers, which is

22    the way that the Defendants characterize Ms. Bond.

23    It's not the Rule, and it's not in the statute, it's

24    not in any case law; instead, it just requires that the

25    claims of the Plaintiff be typical, arise out of the
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 1    same course of conduct and be similar.             The Plaintiff

 2    clearly satisfies that test.          She was charged an

 3    overdraft fee and multiple overdraft fees based upon a

 4    computer system that applied to everybody in the same

 5    way.    She's governed by the same contracts as everybody

 6    else, and she was sent the same disclosures as

 7    everybody else.       So, clearly, as a factual matter and a

 8    legal matter, her claims arise out of the same common

 9    course of conduct, and she is typical.

10             What do the Defendants say?          Well, first let's

11    examine what they do not say.           The Defendants do not

12    say that the Plaintiffs' claims do not arise out of the

13    same common course of conduct.           The Defendants do not

14    say that her claims are not similar to the claims of

15    absent members of the class.          They make no challenges

16    on the issue of adequacy.          They don't say she has any

17    conflicts, they don't say that her counsel are

18    inadequate.

19             Instead, what they say, and you'll repeatedly

20    hear from them today, that she is an outlier, that she

21    had many more overdrafts than other people, that she

22    recalls some things and doesn't recall other things,

23    that she got some documents and she didn't get some

24    other documents, that she started her bank account at a

25    predecessor to Berkshire Bank while others it didn't.
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 1             They also say that she mismanaged her account,

 2    that's their terminology, she didn't look at her

 3    account statements, they say.           She got charged many

 4    overdraft fees, she never went to the Bank to complain,

 5    and so he mismanaged her account, and as a result,

 6    she's subject to what they call a unique defense of

 7    failure to mitigate damages.

 8             Well, that argument fails for a whole series of

 9    reasons.     The first is, Your Honor, that, as a legal

10    matter, issues about damages do not provide a

11    disqualifying unique defense.           That's in every single

12    case that we've ever seen concerning overdraft fees.

13    It's in the TD Bank case, it's in the Florida overdraft

14    cases, it's in the Gunter case.           These and other Courts

15    have clearly and unequivocally and repeatedly said that

16    issues about damages don't arise to unique defenses.

17             And the Gunter case, which we recently submitted

18    as supplemental authority, is right on point because

19    they made exactly the same argument as Defendants make

20    here, and what did the Court say?            "United further

21    argues that Gunter's claims are not typical of either

22    proposed class because United has few clients who

23    overdrafted as much as Gunter.           Gunter's unusual

24    frequent overdrafts suggest that she has suffered from

25    United's practices more than most, not that her claims
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 1    are qualitatively different."           So, as a legal matter,

 2    Your Honor, this unique defense argument does not work.

 3              It doesn't work for another reason.            A unique

 4    defense requires just that, the defense has to be

 5    unique.    If the defense applies to other members of the

 6    same class as it applies to the proposed class

 7    representatives, by definition, it's not a unique

 8    defense.     And so what does the record show?

 9    Defendants' own documents demonstrate that there were

10    thousands of people, literally thousands of people,

11    who've had more than 50 overdraft charges, and there

12    were hundreds of people who had as many overdraft

13    charges as Ms. Bond.        So, there is nothing unique about

14    Ms. Bond's experience that is dissimilar to many other

15    thousands of class members.          They're going to assert

16    the same argument as to other class members as they're

17    going to assert to Ms. Bond.

18              And even in their answer to the complaint, they

19    admit very clearly, We're going to assert this

20    affirmative defense of failure to mitigate.               We're

21    going to assert it to the Plaintiff, and we're going to

22    assert it to other members of the class.              So, on that

23    basis alone, the unique defense argument does not work.

24              Third, even if you do not accept those other two

25    reasons to reject the unique defense, the unique
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 1    defense requires that the defense consume the merits of

 2    the claims.      That's the language of all the cases from

 3    District of Massachusetts through every District Court

 4    in the country.       It has to consume the merits of the

 5    claims.    Defendants don't even attempt to demonstrate

 6    how this is true.       They don't tell you how the trial

 7    will look, they don't tell you what witnesses are going

 8    to testify about Ms. Bond's experiences.              The reality

 9    is, Your Honor, there are going to be ten to 20

10    witnesses in this case who testify about contracts, who

11    testify about disclosures, who testify about the

12    computer system.       There'll be multiple exhibits that

13    have absolutely nothing to do with Ms. Bond's alleged

14    mismanagement of her account.

15              So, if anything, Your Honor, it's our position

16    that the overdraft charges that Ms. Bond incurred only

17    make her even more suitable to be a class

18    representative here because she sustained substantial

19    damages here, and so she's incentivized just as much as

20    anybody else to be a class representative.              So, it only

21    really works in our favor to show that she's a suitable

22    class representative and not an unsuitable class

23    representative.

24              Fourth reason, Your Honor.         Massachusetts Courts

25    are very clear that, rather than not certifying a
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 1    class, they will undertake an effort to bifurcate the

 2    proceeding so that, if there's a unique defense that

 3    arguably applies to a class certification, the Court is

 4    not going to say, Okay, there's a unique defense here,

 5    and I'm not going to certify any class, and I'm going

 6    to leave thousands of people who arguably have claims

 7    out in the cold.

 8             Instead, what the Court in the Credit Suisse

 9    case, which is a District of Massachusetts case, said,

10    "I am unsatisfied with the sterile incantation by the

11    Defendants that because Schwack is subject to a unique

12    defense, she categorically cannot be the class

13    representative.       If the question is whether Schwack's

14    incentives align with those of absent class members,

15    the answer is clearly yes.          Her claims against the

16    Defendants rise or fall on the same legal theory.                 If,

17    on the other hand, the concern is that the unique

18    defense to which Schwack is vulnerable will derail the

19    litigation, consuming all of counsel's time and energy

20    and thereby injuring the interests of absent class

21    members, the bifurcation mechanism outlined above will

22    provide an adequate safeguard."

23             So, here what the District of Massachusetts is

24    saying, I'm not going to prejudice the interests of

25    thousands of people that got harmed if there's an
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 1    arguable unique defense that applies to the Plaintiff.

 2    What I'm going to do is, if this is in fact an issue, I

 3    can bifurcate these proceedings, I can adjudicate the

 4    common questions first, I can analyze the predominating

 5    questions first, and then I can bifurcate the issue

 6    associated with the class representative and deal with

 7    that later.

 8             Fifth, there's another potentially available

 9    alternative in the event you reject all of these

10    reasons and find that unique defenses is an arguable

11    reason for finding her atypical.           Courts usually find

12    that you can substitute a class representative in the

13    event that you find a Plaintiff atypical.              And there

14    are many cases on this, and we cited this in our brief.

15             And we submitted the affidavit of a gentleman

16    who's more than willing to appear as a class

17    representative.       We have other people who could appear

18    as class representatives.          So, I don't think,

19    Your Honor, that the explanation here that she's

20    atypical is a reason to deny relief to thousands of

21    people, and I think the Courts in Massachusetts would

22    say exactly the same.

23             The Defendants have other challenges to the

24    named Plaintiff.       They say that she doesn't have

25    standing to assert the consumer fraud claims of other
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 1    class members.      Well, that's true, she doesn't have

 2    standing to assert a New Jersey claim or New York

 3    claim, but the issue is whether or not she's typical,

 4    her claims are typical, and we've demonstrated that her

 5    claims are similar, and so, therefore, she is a typical

 6    representative and could represent the consumer fraud

 7    claims of people who live in other states.

 8             Next, they say that she doesn't have standing to

 9    assert the EFTA claim that has a one-year statute of

10    limitations.      Well, there's a split of authority on

11    that, Your Honor.       There's some cases that say, It's

12    true, you only have one year after the first transfer,

13    and after that year, you can't seek relief with respect

14    to other transfers.        But there are other cases that say

15    that every time you sustain an EFTA overdraft charge,

16    you have a separate and independent cause of action, a

17    recurring claim.       And what's notable here, Your Honor,

18    is that one Court that expressly holds that is a

19    District of Massachusetts Court.           It's the Affinion

20    case, and we've cited that in our brief.

21             Let me address the Daubert motion.            I have

22    limited time here, Your Honor.           Relevance is clearly

23    the key standard here, and I don't think anybody

24    debates that, that unless the opinions of the proposed

25    expert are relevant, they shouldn't be admissible at
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 1    trial.     And here, the opinions of the expert are the

 2    antithesis of relevance.         What does the expert say?

 3    Well, she says she's an outlier.           You're going to hear

 4    that for much of the 40 minutes that the Defendant is

 5    allotted today.       She didn't recall certain things, and

 6    other people recalled certain things.             She didn't call

 7    the Bank, other people called the Bank.             She had a lot

 8    of overcharges, many people didn't have a lot of

 9    overcharges.

10             Well, that's very interesting from a statistical

11    and economic point of view, and perhaps if you wanted

12    to look at issues about economics and finance, you

13    might find this relevant.          But as a legal matter

14    Your Honor, as a legal matter, it's irrelevant.                   Courts

15    don't prohibit outliers.         The statute doesn't say we're

16    not going to accept outliers as typical

17    representatives.       It's not in the Federal Rules, it's

18    not statute, it's not case law.           In fact, the cases say

19    precisely the opposite.         They say that outliers can be

20    adequate representatives.

21             What do the Defendants next say in their expert

22    opinion?     Well, you can't extrapolate, that's their

23    language, you can't extrapolate her experience to

24    absent members of the class.          But, again, that's

25    interesting, but it's legally irrelevant.              Nobody's
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 1    putting Ms. Bond on the stand and saying to the jury,

 2    Look at her facts, look at her circumstances,

 3    extrapolate her circumstances and her claims to other

 4    members of the class and, therefore, find for the

 5    Plaintiff.     We can't do that as a legal matter, and we

 6    don't intend to do it here.          We're not trying to

 7    extrapolate her circumstances to other members of the

 8    class.    They might be different, but so what?

 9    Circumstances are different, claims can be different,

10    as long as they're similar and they arise out of the

11    same common course of conduct.

12             Last point, Your Honor, is you're going to hear

13    a lot about people have different experiences, people

14    have different understandings about overdraft fees,

15    people have different subjective perceptions about what

16    overdraft fees mean, when they're imposed, when they're

17    not imposed, do they do it intentionally, do they not

18    do it intentionally.

19             Every Court, every Court that has looked at this

20    has rejected this argument.          TD Bank, the Florida case

21    of Judge King, the Court in the Gunter case, every

22    single case, except one that I know of, which is, like,

23    from 11 years ago from a State Court in New Mexico,

24    which had different claims, every Court has said

25    individual experiences, individual perceptions,
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 1    individual understandings are not relevant.               The claims

 2    are based upon objective proof, they focus on the

 3    Defendants' conduct.        What did the Defendant do?            What

 4    did the contract say?        What did the disclosures say?

 5             So, this whole litany of analysis in the report

 6    about different experiences and understandings are

 7    legally irrelevant, and therefore, we think,

 8    Your Honor, that the expert report of Ms. Fair should

 9    not be admissible.

10             Thank you, Your Honor.

11             THE COURT:      Thank you.

12             MR. FREDERICO:       Your Honor, before I begin, I

13    think that there's an issue about an exhibit I would

14    like to use that was raised by Plaintiffs' counsel this

15    morning.     We submitted this morning a package of

16    materials.     We also have them electronically.            We

17    intend to display most of them.

18             And there are two things in here that counsel

19    tells me they object to.         They are really just

20    demonstrative aids.        Tab 1 I understand there's an

21    objection to, which is a summary of information that is

22    in the record.      We didn't cite the record references,

23    and we provided it to them this morning because we

24    didn't have it until last night.           And then Exhibit 9 is

25    just meant to illustrate part of my argument.               I'm not
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 1    even sure I'm going to get to it, but I may.

 2             So, before I -- the clock starts on my argument,

 3    I just want to make sure that I may refer to these

 4    items in the course of my argument.

 5             THE COURT:      What's your objection to No. 1?

 6             MS. EDWARDS:      Your Honor, just for clarification

 7    purposes, we got this literally five minutes before

 8    11:00, and it got handed -- it was handed to us.                  I did

 9    go through it.      We are not objecting to everything.

10    What we are objecting to is Item No. 1, which

11    summarizes a number of different things.              Your Honor,

12    these things are not in the record.            They're summaries

13    of communications and exhibits without any citations to

14    the record.

15             If Attorney Frederico had prepared this last

16    night, I would have expected it overnight or this

17    morning, not literally as Your Honor was ready to go on

18    the bench.     We had no time to review it.           We don't

19    think it's reasonable and in good faith for them to

20    give it to us as we're ready to start our argument and

21    not have the ability to check it or verify it or

22    connect it with any exhibits or any part of --

23             THE COURT:      So, you're questioning accuracy?

24             MS. EDWARDS:      Well, the accuracy and also the

25    ability to refute it and to formulate arguments against
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 1    it in our reply.       We're virtually left without any

 2    ability to do this or check it or to be able to counter

 3    it, so we're objecting to it and asking that it not be

 4    allowed for submission.

 5             The same argument with respect to Item No. 9.

 6    It has to do with hypothetical customers, it's a

 7    hypothetical, it's a graphic.           But, again, Your Honor,

 8    it has no evidentiary support, and we just feel that

 9    it's not in good faith, and we have no ability to be

10    able to properly respond to it.

11             MR. FREDERICO:       Your Honor, these are just items

12    that I intend to use to illustrate the points I make in

13    argument.     I think they're helpful to the Court.               They

14    help to visualize the points I'm making.              I'm not

15    offering them in to the record.           I just would like to

16    use them during the course of my argument.

17             THE COURT:      All right.     I can see No. 9, but

18    what about No. 1?

19             MR. FREDERICO:       Oh, you're asking me,

20    Your Honor?

21             THE COURT:      Yeah.

22             MR. FREDERICO:       Yeah.    So, most of the

23    information in No. 1 is taken either from the

24    declaration of Kristen Ricker, which is in the record,

25    or from the deposition of Sandra Bond, which is also in
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 1    the record.      So, for example, the written

 2    communications --

 3             THE COURT:      The other side didn't have a chance

 4    to kind of look at this and verify.

 5             MR. FREDERICO:       I'm sorry, Your Honor?

 6             THE COURT:      The other side didn't have a chance

 7    to look at this and try to verify.

 8             MR. FREDERICO:       Well, I understand that.

 9             THE COURT:      9 is fine, I understand 9, and you

10    can use that kind of as a chalk in your argument, and

11    this is not coming in to evidence --

12             MR. FREDERICO:       Right.

13             THE COURT:      -- which is important, but I

14    appreciate the Plaintiffs' concerns over 1 and just not

15    having time to even look at this, to digest it, to

16    see -- I mean, frankly, I don't see what the harm's

17    going to be for you to be arguing this to me, but I

18    think it was bad form that you didn't give it to them

19    earlier.

20             MR. FREDERICO:       Your Honor, we were -- we didn't

21    finish preparing it until last night, and we provided

22    it to them as soon as we could this morning.

23             THE COURT:      What's the harm if they rely on

24    this, if they're looking at it when they're making

25    their argument?
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 1              MS. EDWARDS:     Understood.      The harm is that we

 2    don't -- in good faith, and in proper preparation to be

 3    able to do a rebuttal in this case, if they are relying

 4    on assertions in here, they are making representations

 5    to this Court, we do not know if they're accurate.

 6    Attorney Frederico is representing they came from

 7    different sources.        We have no ability to spend time to

 8    look at this.      Your Honor, we communicate by email all

 9    the time.     If they did it last night, it should have

10    been sent last night.        I check my email usually before

11    7:00 in the morning --

12              THE COURT:     Well, he's going to be making the

13    argument anyway.       He's going to be making the argument

14    anyway.     This is just a visual.

15              MS. EDWARDS:     Correct.

16              THE COURT:     So, when he's making the argument,

17    if you have points about it, you can supplement.                  But,

18    I mean, this is just a visual to his argument.               I'm

19    going to let him use it.         You know, it's a little bit

20    disappointing that this came late and --

21              MR. FREDERICO:      I understand, Your Honor.

22              THE COURT:     -- it wasn't turned over.

23              So, I appreciate your point, Plaintiff, but I

24    don't think this can hurt you .           And, quite frankly, if

25    there's information in here that you show me in a
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 1    supplement that is not true, then that hurts them for

 2    putting something forward like this.             And I won't lose

 3    sight of the fact that, if it is inaccurate and they

 4    gave it to you late, that's not an impression that

 5    Defendants would want to leave me with, I'm sure.

 6             MR. FREDERICO:       That's correct.

 7             THE COURT:      So, I'm going to let him go with it;

 8    okay?

 9             MS. EDWARDS:      Fair enough.      Thank you for your

10    consideration, Your Honor.

11             MR. FREDERICO:       Thank you, Your Honor.

12             MR. RITCHIE:      And before we start, Mr. Bartlett,

13    can you make sure that we can put our demonstratives on

14    the screen?

15             MR. FREDERICO:       Good afternoon, Your Honor.         I

16    think it's afternoon now.

17             Your Honor, what I would like to do is begin

18    really talking about many of the facts that we believe

19    are important on this motion and then come back and tie

20    it in to the standards for class certification and some

21    of the relevant law.

22             I will just preface it to say that Rule 23

23    really represents a balancing of interests, and that's

24    why we have rules like typicality, adequacy,

25    predominance.      Typicality, for example, which is one of
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 1    the standards we're going to focus on, is really there

 2    both to protect Defendants from defending and perhaps

 3    having a judgment entered against them for a whole

 4    class where of the Plaintiffs' claim really isn't

 5    typical of the class, but it also protects the absent

 6    class members from having somebody representing them

 7    whose interests aren't fully aligned, whose claims

 8    aren't quite the same, who might have different

 9    defenses asserted against them, causing them all to

10    lose because of the lack of typicality of the

11    Plaintiff.

12             Predominance is also meant to protect a number

13    of things but in part the interests of the Defendant in

14    making sure that, if the Defendant has defenses against

15    class members that can only be understood and asserted

16    on an individual basis, they don't lose the right to

17    assert those defenses because a Court has certified the

18    case as a class action and there's no way, then, to

19    assert those defenses against the individual class

20    members.

21             So, these are really important issues.             They're

22    important to Defendants, they're important to Courts,

23    they're important to Plaintiffs, they're important to

24    absent class members, and it's a balancing of all of

25    those interests that the Rule protects.
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 1              So, let me start with talking about the

 2    relationship between the Bank and the customer because

 3    this is very important.          What you heard today and what

 4    you see in the briefs is an emphasis on two major

 5    uniform things, or what are alleged to be uniform

 6    things:

 7              The computer system.       Sure, the computer system

 8    operates in a uniform manner.           It changed over time.

 9    In 2012, they went from one system operated by a

10    company called OSI to another system operated by a

11    company called FIS, and the way that transactions were

12    processed changed in 2012.          But the way they were

13    processed in each of those time periods certainly was

14    uniform.

15              The disclosures that have been drafted.             In

16    large part, we don't contest that an opt-in form that

17    was created in 2010 was the same opt-in form that was

18    used over a number of years.

19              Those are sort of the big trees, but there's a

20    lot of forest that's being ignored by the Plaintiffs

21    that really affects liability in this case, not just

22    damages, but liability in this case.             So, I want to

23    talk about that.       And if I may, I'm just a little dry

24    so...

25              THE COURT:     Sure.
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 1             MR. FREDERICO:       I'm going to borrow a phrase

 2    that was used by our expert.          I'm not talking about her

 3    opinion, but in her deposition, she used a phrase that

 4    I liked, and I want to borrow it.            She said that a

 5    checking account is a high-involvement product.                   She

 6    said it's not like buying a bottle of water.               You don't

 7    just go in to a store, buy it, drink it and you're

 8    done, but you're involved with this product over time.

 9    There's a relationship between the customer and the

10    bank with a lot of interaction over time, and different

11    people interact in different ways, different people

12    interact to different degrees, some people don't really

13    interact much at all.

14             These many interactions between the bank and the

15    customer are what I have on Exhibit 1 in the materials

16    that we just talked about.          And they break down in to

17    oral communications and written communications, so --

18    and they happen at different times.            So, there's

19    account-opening at the branch, somebody goes in to open

20    an account at Berkshire Bank, they go to the branch,

21    and they have a conversation with an employee at the

22    branch about how the account works, what the different

23    features are, how overdrafts work.

24             Since 2010, when Reg. E went in to effect,

25    representatives at the branch, when they were opening
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 1    new accounts, were required to talk about how

 2    overdrafts work.       And in some of those conversations,

 3    if not all of those conversations, they talked about

 4    available balance, and this is discussed in the

 5    declarations of the Bank employees that we submitted as

 6    part of the record in this case.

 7              After an account is opened, there are numerous

 8    other communications between the Bank and its

 9    customers.     There are outbound calls to existing

10    customers that took place in 2010 when Reg. E was going

11    in to effect, people who hadn't elected yet to opt in

12    were getting phone calls from the Bank.             Again, the

13    employees were trained to talk about how the overdrafts

14    work, often they talked about the available balance

15    method.

16              There are courtesy pay elections, so people

17    could elect, after they've opened an account, if they

18    didn't do it at that time, they could later opt in to

19    courtesy pay, and when they did that, sometimes they

20    would go to the branch, they could also do it by phone,

21    again, they would have a conversation with a Bank

22    employee.

23              Outbound customer calls, if people were

24    experiencing a high volume of overdrafts, they would

25    get calls from the Bank, the Bank employees would try
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 1    to explain to them what was happening, why they were

 2    having these overdrafts and what alternatives were

 3    available to them that might save them money.               There

 4    was a line of credit that they could apply for; there

 5    was also a possibility of linking a savings account to

 6    a checking account, so if your checking account was

 7    being overdrawn, it would automatically draw money from

 8    your savings account, and you wouldn't get an overdraft

 9    fee.

10              Refund request conversations.          Customers

11    frequently would, if they were surprised by their

12    overdrafts, they would contact the Bank and ask for a

13    refund.     That had to be an oral communication.            Every

14    time a customer wants a refund, they have to speak to a

15    Bank employee.      Customer -- the Bank employees were

16    trained, again, on those occasions to talk to the

17    customers about their overdrafts, what caused the

18    overdrafts, try to educate them on, Here's why you had

19    an overdraft on this day, here's what you can do to

20    avoid it in the future.         So, there were refund

21    requests.     And 36 percent of customers of Berkshire

22    Bank who experienced overdrafts received refunds at one

23    point or another.       I'll get back to that a little

24    later.    That's an important point.

25              And then there are other conversations.
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 1    Somebody might not request a refund, but if they have a

 2    question about overdrafts, they could call the Bank,

 3    ask, have somebody explain it to them.             So, those are

 4    the oral communications.

 5              Now, the written communications.           And when I

 6    put this together, I followed the declaration of

 7    Kristen Ricker, which is in the record, who walks

 8    through I believe all of this.           Maybe one or two things

 9    aren't in there, but I think they're all in there.                And

10    she describes in her declaration account-opening at the

11    branch.    When you open an account at the branch, you

12    receive the terms and conditions document, you receive

13    the courtesy pay disclosure, and if you want -- if

14    you're interested in opting in to ATM and one-time

15    debit card overdraft protection, then you also received

16    the opt-in form.       And these are the forms that the

17    Plaintiffs rely on for their breach of contract and

18    unfair practices claim.

19              Now, those forms, by the way, changed a lot over

20    time, and we have Appendix B to our opposition, which

21    summarizes the changes.         They didn't all change at the

22    same time.     Sometimes the courtesy pay disclosure would

23    change, sometimes the terms and conditions changed.

24    So, we've calculated, just by looking at the changes,

25    that essentially, if these are the main contract
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 1    documents, there were nine different versions over the

 2    class period of 2010 to 2017.           You heard a lot, by the

 3    way, about the TD Bank case.          There was one contract in

 4    that case, one uniform agreement.            Here we've got nine

 5    over the class period.

 6             Then, online account-opening.           People could open

 7    accounts online.       Again, if they're doing that at their

 8    computer, they have to open the terms and conditions

 9    link, that has to be displayed; they have to open the

10    courtesy pay disclosure; if they want to opt in, they

11    have to open the link to the Reg. E disclosure.                   And

12    then, if they do opt in to courtesy pay, they get a

13    courtesy pay disclosure in the mail, all additional

14    information and materials that you get if you opt in --

15    open an account online.

16             What happens to people in terms of written

17    materials after account opening?

18             THE COURT:      Wait.    So, I understand all this.            I

19    mean, you don't -- I understand banking -- the banking

20    dynamic and the relationship between customers and the

21    Bank.    You don't really need to go through and read me

22    this.    So, what's your argument?         Just get to the

23    point.

24             MR. FREDERICO:       Well, the argument, Your Honor,

25    is that --
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 1             THE COURT:      Well, you're not making the

 2    argument; you're just telling me about the different

 3    banking relationships between customers and the Bank.

 4    I appreciate that.        I get it.     So, now roll that in to

 5    your typicality argument.

 6             MR. FREDERICO:       Well, all right.       I'll go to

 7    typicality.

 8             THE COURT:      You can go wherever you want, but

 9    just make your argument.

10             MR. FREDERICO:       I hear you, Your Honor.

11             THE COURT:      All right.

12             MR. FREDERICO:       There's a large mix of

13    information.      Different people get different

14    information.

15             THE COURT:      Right.

16             MR. FREDERICO:       Much of the information is

17    designed to educate people about overdrafts, informs

18    people about available balances and puts people really

19    in very different situations throughout the class.

20    That's a predominance argument, Your Honor.

21             THE COURT:      Sure, okay.

22             MR. FREDERICO:       And, again, I won't refer to any

23    of this, but Tabs 2 through 6 I think give examples of

24    some of these different materials, and -- well, maybe I

25    will just point out some things, Your Honor, if I may.
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 1             On the fourth page of what's in the Tab 2,

 2    that's the Bonds' -- one of their bank statements, and

 3    you see at the end, it lists their overdraft fees, it

 4    gives a number to call if people have questions, it's

 5    highlighting for them that they've received a lot of

 6    overdraft fees.       The next exhibit is an overdraft

 7    notice that was mailed to them, again, informing them

 8    of the overdrafts that they incurred, giving them a

 9    phone number for assistance.          The next document is an

10    education letter for people that were high-frequency

11    overdrafters.

12             The next document is an online display of the

13    account -- of an account, and it shows available

14    balance.     It says, "The available balance is the amount

15    of funds you can use without causing an overdraft."               It

16    has the available balance listed towards the bottom.

17    This is an intra-day balance; okay?            These are

18    different from monthly statements.            Monthly statements

19    don't show every transaction during every minute of

20    every day.     So, that becomes important because

21    people -- some people have access -- or some people

22    look at this information, some people don't look at

23    this information.       They have different understandings

24    of available balance.        And then, finally, there's a

25    mobile app at the end, also showing the available
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 1    balance.     That came in to effect, I think, in 2015 for

 2    customers that wanted it.

 3             Now, if we go back to Tab 1, what is showing now

 4    on the screen, Your Honor, is it's showing how these

 5    applied to Sandra Bond.         So, you had many customers who

 6    had all of these experiences with oral communications

 7    where information was provided about how available

 8    balance worked, about how overdrafts work.              Bond

 9    testified in her deposition that she never spoke to a

10    Bank representative, so she's different in that sense.

11    This is more the typicality argument.             It's both a

12    predominance argument and typicality.             She never had

13    the opportunity or gave herself the opportunity to

14    become educated by Bank personnel through an oral

15    conversation about overdrafts.

16             If you go to the next page, she was sent -- and,

17    again, this is in the record.           She was sent -- she

18    didn't open her account -- I'm sorry.             I just touched

19    the screen.      That arrow wasn't meant to go there.

20             THE COURT:      Yeah, that was quite a bit.

21             MR. FREDERICO:       So, she didn't open her account

22    at Berkshire Bank; she opened it at Woronoco Bank back

23    in 2002.     So, unlike many of the potential class

24    members, she did not get all the account-opening

25    documents because she was just converted over to
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 1    Berkshire.     She was mailed many of the other

 2    disclosures that educate about overdraft fees, that

 3    educate about available balance.           She testified in her

 4    deposition she never opened any mail she got from the

 5    Bank.    She never read anything she got from the Bank.

 6             So, all this information was in her mailbox, it

 7    was on her kitchen counter.          She didn't open it, she

 8    didn't read it.       And, therefore, all the efforts that

 9    the Bank made to educate its customers about

10    overdrafts, which many other customers presumably read,

11    she never read, separating her and creating defenses

12    for Berkshire Bank.        There is a mitigation of damages

13    defense.     She was negligent in the way she managed her

14    account.     That would sidetrack the trial.

15             The standard for typicality on unique defenses,

16    it doesn't necessarily have to be unique.              There's the

17    Schwack, which I believe counsel referred to in

18    argument, and the standard which was quoted in the

19    Credit Suisse case, if I my quote it, "Whether the

20    putative class representative can fairly and adequately

21    pursue the interests of the absent class members

22    without being sidetracked by her own particular

23    concerns."     That's the standard, at least quoted by

24    some of these Courts.

25             There's going to be a lot of sidetracking in
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 1    Sandra Bond's case because, again, there was a ton of

 2    information mailed to her that would have educated her

 3    about overdraft fees, that would have helped her avoid

 4    overdraft fees and that she never looked at.

 5             Now, we have some of that --

 6             THE COURT:      Now, what about when Plaintiff says,

 7    Well, you know, they only have to be similar; they

 8    don't have to be identical, and there is a substitute

 9    class rep. that we could just put in here?

10             MR. FREDERICO:       So --

11             THE COURT:      Maybe those are two very

12    different --

13             MR. FREDERICO:       They're two different issues.

14    On the similarity of the claims, they have to be

15    similar, but if there are defenses that will sidetrack

16    the trial because of that person's particular concerns,

17    they're not similar enough.           And, again, you're trying

18    to protect the class.        Imagine if Sandra Bond's case

19    went to trial and a jury found against her because she

20    wasn't managing her account properly.

21             By the way, it's not just a defense; they have a

22    93A claim, unfair or deceptive practice causing injury.

23    Well, is it unfair for the Bank to have assessed her

24    fees if it was telling her about them all the way and

25    she wasn't listening, if it was mailing her all this
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 1    information and she wasn't reading it?             Those would be

 2    some of the defenses.        She could lose that case.            If

 3    she loses that case, the whole class loses the case.

 4             So, that's --

 5             THE COURT:      If you step out of your role for a

 6    minute, arguably they lose the whole case because of

 7    her negligence, which other members of the class don't

 8    have that affirmative --

 9             MR. FREDERICO:       Some might, some don't.

10    Predominance issue there, but yes.

11             In terms of substituting another Plaintiff,

12    Your Honor, we just think that comes too late.               We're

13    two years in to the litigation.           They raised it in the

14    course of the briefing of this motion with --

15             THE COURT:      Is there a bar to --

16             MR. FREDERICO:       There's no -- Your Honor has

17    discretion.      You have discretion, Your Honor.

18             THE COURT:      Yeah.

19             MR. FREDERICO:       Now, the person, I believe -- if

20    I remember correctly, I believe the person they want to

21    substitute closed his account in 2014.             There were a

22    lot of new disclosures that came out in 2015, 2016,

23    2017.    So, even if he -- and we haven't had a chance to

24    take discovery of him, we don't know whether he's a

25    suitable class representative, but if he closed his
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 1    account in 2014, he can't represent people from 2015 to

 2    2017.    That would be a very limited class.

 3             And there might also be statute of limitations

 4    arguments with respect to him coming in late.               We

 5    haven't explored that, we haven't briefed that, but

 6    there are a lot of potential issues there, Your Honor.

 7    So, we would oppose adding him.           We've cited some case

 8    law where Courts have refused to allow new Plaintiffs

 9    to come in.

10             THE COURT:      Fair enough.

11             What about -- okay, your argument -- for the

12    sake of argument, she was negligent in managing her

13    account.     But if the class and the action is attacking

14    the policies and the overdraft fee schedule in place,

15    what does her negligence really have to do with

16    anything?

17             MR. FREDERICO:       Well, again, you have to look at

18    the nature of the claims and the affirmative defenses.

19    So, the claims -- let's focus on the 93A claim.                   Again,

20    we would argue that somebody that -- that there's no

21    unfair or deceptive act and certainly no causation for

22    somebody who isn't reading or listening to the

23    information she's being provided.            So, that makes

24    her -- I'm not sure I'm addressing exactly the question

25    you raised, but that makes her atypical, again, because
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 1    we're going to focus a lot of attention at her trial on

 2    that point.      That goes right to the merits of the

 3    underlying claim.

 4             There are affirmative defenses besides

 5    mitigation of damages that might apply.             Ratification,

 6    waiver, estoppel, all of those things may be available

 7    at trial, again, because she wasn't really paying

 8    attention.     So, all of those things will color the case

 9    in a way that could be prejudicial not only to the

10    Bank but also to some class members.

11             THE COURT:      The Plaintiffs are saying she wasn't

12    paying attention, so she was getting harmed by the --

13    kind of the way Berkshire set up -- to try to use some

14    analogies, so there's these traps set by the Bank, and

15    I don't mean -- this is just for sake of argument, but

16    they set up these fee schedules that are kind of traps

17    for the unwary, and she's not paying attention, so she

18    keeps falling in, in to the trap.

19             Now, other people in the class are paying

20    attention, so they're walking around the trap, and

21    they're not falling in, and they know it's there, so

22    they're staying away.        But it seems to me the Plaintiff

23    is saying this lawsuit is just about the existence of

24    traps, not about who maneuvers around them and who

25    steps in because they're negligent; it's just that they
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 1    exist, so that's why they're similar for typicality.

 2             MR. FREDERICO:       I think what you're saying,

 3    Your Honor, if I might try to rephrase what you've just

 4    said?

 5             THE COURT:      Sure, maybe -- I'm sure you can do

 6    it better.

 7             MR. FREDERICO:       And I'm not sure I can do it,

 8    Your Honor, but I think what you're saying is that--

 9             THE COURT:      I wasn't saying it; I was trying to

10    ask a question based on what the Plaintiff had told me.

11             MR. FREDERICO:       Right.

12             THE COURT:      I mean, they made that argument

13    about typicality and being similar and telling me, you

14    know, doing a nice job telling me that you were going

15    to be be making this argument, so go ahead.

16             MR. FREDERICO:       Well, let's focus, then, on the

17    claim of unfair and deceptive acts.            And you heard

18    Ms. Edwards argue the 93A point, and her focus was on

19    deception; okay?       These are deceptive, and the

20    deception has to cause the loss.           Those were her words,

21    which were correct.        I mean, that is what the case law

22    says.    And that's the basis of their 93A claim.

23             How was Ms. Bond deceived if she didn't read the

24    deceptive material?        How did it cause her loss if she

25    didn't read the deceptive materials?             And what about
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 1    all the other people out there?           You know, we're

 2    focused a lot on Sandra Bond in particular, but the

 3    evidence shows -- and some of this is through our

 4    expert, some of it is through a Berkshire Bank survey

 5    that was done in the regular course of business a few

 6    years ago before we had an expert -- the evidence shows

 7    that there's a lot of variation among consumer checking

 8    customers, both Berkshire's and in general.

 9             And some of those people are fully aware of how

10    overdrafts work, of how the available balance works.

11    Some people intentionally overdraw their accounts

12    because they see it as a convenience, I've got this

13    nice feature on my checking account, I don't have

14    enough money in the bank, I'm still going to go through

15    this transaction because I know I'm covered, and I know

16    I'm going to get charged a fee and I'll do it.               How

17    does that person recover in a case like this?               How is

18    there an unfair or deceptive act as to that person?

19    But they're trying to certify a class that includes

20    that person, and it includes probably thousands of

21    those people.

22             Now, the refunds, I do want to come back to the

23    refund point, Your Honor.          The refunds are an important

24    point as well because they give another defense, an

25    accord-and-satisfaction defense, that will apply to
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 1    potentially a third or more of the class members

 2    because we submitted evidence of how the Bank deals

 3    with refund requests.        When somebody comes in, they

 4    request a refund, the Bank person is trained to tell

 5    them, We'll give you a refund this time -- maybe it's

 6    their first time, maybe it's their second time, it

 7    doesn't usually go beyond that -- we'll give you a

 8    refund this time.       Here's why you overdrew your

 9    account.     Here's why you were charged your fee.                Here's

10    what you can do to avoid it happening again.               And, by

11    the way, if we give you the refund, we want you to

12    agree that we're not going to give you any more refunds

13    if this happens again, and the customers agree to that.

14    That creates an accord-and-satisfaction defense.                   We

15    would able to assert it against any of thousands of

16    class members who got refunds, but we can't assert it

17    against Sandra Bond because she never requested a

18    refund.

19              So, there's a mismatch both in terms of she's

20    not typical of everybody in the class, but there's also

21    a variety of circumstances in the class that don't

22    apply to her that, again, if the class were certified,

23    the Defendant would be deprived of the opportunity to

24    assert that defense if Sandra Bond is the Plaintiff and

25    really deprived of the opportunity to figure out or to
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 1    allow a finder of fact to figure out, Who does that

 2    apply to?     Because these are individual conversations,

 3    individual exchanges between the customer service

 4    representative and the customer that can only be dealt

 5    with by looking at each individual transaction.                   And in

 6    that circumstance, a class can't be certified.

 7             Now, let me talk a little bit about the

 8    causation issue in 93A, please.           Yes, the case law says

 9    causation is all that is required.            First of all,

10    causation is enough.        If you have to show that an

11    unfair or deceptive act or practice caused you a loss,

12    that can be a very individualized inquiry.

13             We cite a case in our brief called Markarian,

14    which was a Judge Wolf decision from I think 2001.                   It

15    involved the sale of vanishing premium policies to

16    customers.     And the Judge said what reliance -- 93A

17    doesn't require reliance, but it does require

18    causation, and in this situation where people are being

19    sold those policies based on oral -- a variety of oral

20    representations, causation is an individualized issue .

21             Other decisions, and we cite some of them in

22    Tab 10, so this is just a summary of a few cases from

23    the First Circuit, from the District of Massachusetts,

24    a Judge Young decision.         The Federal Court cases at the

25    top basically say, Yes, 93A doesn't per se require
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 1    reliance; however, there are some cases where the only

 2    way to demonstrate causation is by demonstrating

 3    reliance.     And that's true where the claim is one of

 4    deception.     What is the causation theory in a deception

 5    case if it's not that I relied on the misstatement you

 6    told me or I relied on the fact that you omitted

 7    something that would have changed my behavior?

 8             That, again, in a case like this where the

 9    theory, the 93A theory, is one of reliance -- or is one

10    of deception, then the only way they can prove that

11    that customer was harmed by deception is to show that

12    they relied; and the Courts are quite uniform in

13    holding that, where reliance is an issue, it's an

14    individualized issue, predominance is not met, and a

15    class cannot be certified.

16             Now, Your Honor, I added in this also a

17    Massachusetts case that we neglected to cite in our

18    brief, it's a Chapter 93A decision of the SJC from

19    2014.    It talks about causation.         It doesn't talk about

20    reliance, but I just would want the Court to be aware

21    of that case, read the case.          I think it's very helpful

22    in understanding that, if the alleged deception or

23    conduct did not alter the behavior of the Plaintiff, or

24    if it altered the behavior of some but wouldn't have

25    altered the behavior of others, that becomes an
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 1    individualized issue that precludes class

 2    certification.      The 93A standard for class

 3    certification is more liberal than the Rule 23

 4    standard, and yet even under that standard, the SJC

 5    held in that case that a class couldn't be certified

 6    because of the individualized causation inquiry.

 7             I don't know how much time I have left,

 8    Your Honor.

 9             THE CLERK:      Ten minutes.

10             MR. FREDERICO:       Okay.

11             You know, similarly, the same types of

12    individualized issues that affect unfairness and

13    deception also come in to play in an implied covenant

14    case.    So, one of the claims in this case is breach of

15    the implied covenant of good faith and fair dealing.

16             To get to that, you have to know what the

17    dealings were between the Plaintiff and the Defendant.

18    It is based on, What are the justified expectations of

19    the Plaintiff?      But to understand what the justified

20    expectations are, you have to know, What information

21    did they receive?       What information did they review?

22    All of those things that were on that slide, the

23    written disclosures, the oral communications, become

24    relevant, and they're going to vary from one Plaintiff

25    to another.
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 1             Unjust enrichment, it's the same thing as the

 2    unfairness issue under 93A.          Is it unjust under the

 3    circumstances?      You have to look at the individual

 4    circumstances to determine whether charging the

 5    overdraft fee was unjust as to that person.               That may

 6    vary across the board too, that you're going to have

 7    different people in different situations.              The person

 8    who chose to overdraw, who intentionally overdrew, if

 9    they were in the Court trying to present their claim

10    and they admit that they did this on purpose

11    understanding it, they're going to lose, and they're

12    going to lose the unjust enrichment claim as well as

13    the other claims.       And we should have the right to be

14    able to pull them out of the class, but the only way to

15    do that is through an individualized inquiry, which is

16    why Rule 23 doesn't allow class certification in this

17    kind of case.

18             You heard a lot about all the other overdraft

19    fee cases where Courts have certified.             First of all,

20    we've cited a few where Courts have denied

21    certification, but it's important to note that the vast

22    majority of the cases the Plaintiffs are citing were

23    the repetitive decisions of a single Judge in a single

24    MDL, Judge King in the Southern District of Florida.

25    So, it's not as if the ten cases cited in a footnote
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 1    are in ten different Courts; they're really just one

 2    decision of one Judge being made over and over and over

 3    again.

 4             The TD Bank case was another Judge who once, at

 5    the motion to dismiss stage of that case, referred to

 6    the Southern District of Florida MDL decisions as an

 7    echo chamber.      She actually decided a dismissal, a

 8    preemption issue differently from the way Judge King

 9    did in the Southern District of Florida.              She didn't

10    feel that she was bound by those decisions.

11             You heard a lot about the TD Bank case.              I've

12    already mentioned that, in the TD Bank case, there

13    were -- there was only one uniform contract.               Here

14    there were multiple versions over different periods of

15    time that very much complicates both the number of

16    individualized issues that exist but also whether this

17    would be a manageable case because of all the different

18    contracts that would apply to all the different groups

19    and class members.

20             THE COURT:      So, is that why you think that

21    perhaps bifurcation for unique defenses wouldn't be

22    manageable?

23             MR. FREDERICO:       Your Honor, we don't think

24    bifurcation is appropriate or contemplated by Rule 23.

25    But, yeah, it is -- I think it is unmanageable.                   I
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 1    don't know, first of all, how you manage nine different

 2    contracts.     You're going to have class members who

 3    might have had only one of the contracts, you're going

 4    to have other class members who might have had all nine

 5    of them, it's going to be all over the lot.

 6    Sandra Bond would have been subject to all nine of

 7    those agreements, and how do you instruct a jury, how

 8    do you parse through the changes in the language?

 9             And available balance, by the way, we think it

10    was always adequately disclosed, but it was really

11    disclosed in 2015 and 2016 in a much heightened way.

12    And there were, again, many changes to those

13    disclosures in those years.          So, I don't think that's

14    manageable.      It also highlights the individualized

15    issues because you've got different people subject to

16    different agreements.        It becomes a very complicated

17    task.

18             TD Bank didn't have that.          We believe the Judge

19    in the TD Bank case decided that case wrongly.               It

20    hasn't been reviewed by the Fourth Circuit yet.                   But

21    that's -- Mr. Ritchie and I represented TD Bank in that

22    case, Your Honor, and we did seek interlocutory review

23    of the class certification order.            It was denied by the

24    Fourth Circuit.       That case is still out there, and some

25    day, if it isn't resolved on summary judgment or in
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 1    some other way, we intend to appeal that to the Fourth

 2    Circuit.

 3             So, the vast amount of precedent going their way

 4    isn't really a vast amount, and all those cases in the

 5    Southern District of Florida had to do with a

 6    completely different situation.           They weren't available

 7    balance cases; these were pre-Reg. E cases that

 8    involved a practice that many banks used of posting

 9    transactions from high to low, debit transactions.                So,

10    many banks -- and Berkshire Bank never did this, but

11    many banks, national banks, posted debits from the

12    highest dollar amount to the lowest dollar amount.

13    That maximizes your number of overdrafts you're going

14    to have on any given day and the number of overdraft

15    fees you incur.       And the argument there was that was an

16    unfair practice.

17             That's not what this case is about.             The

18    available balance practice is something that is highly

19    defensible.      It's highly disclosed.        All of the things

20    that are relied on in the Plaintiffs' exhibits as well

21    as in our exhibits show that the Bank went to great

22    lengths to try to educate its customers about the

23    available balance practice, to teach them how to avoid

24    overdraft fees, and it's a very different situation

25    from MDL-2036.
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 1             I'll mention just -- comment just for a minute

 2    on superiority.       We do believe that this is an

 3    unmanageable class action.          I know the Plaintiffs often

 4    will say, Well, these are low-dollar cases; and, you

 5    know, how can you say that a class action isn't

 6    superior to other forms of adjudication?              And that is a

 7    challenging argument, but I would point the Court to

 8    the fact that the banking industry is highly regulated,

 9    and there are regulators who look over practices, there

10    are regulators who have authority to assess fines, to

11    assess penalties for practices that it believes are

12    unfair to consumers.

13             I can't talk about any particular regulator

14    action or inaction with respect to any particular bank

15    because those are subject to a regulator privilege.               We

16    don't even have that privilege; it's the regulator's

17    privilege, so I can't go in to that.             But the very fact

18    that there are regulators who closely oversee not only

19    the safety and soundness of banks but also the fairness

20    to the consumer does mean that consumers without a

21    class action aren't left unprotected.             They still have

22    the protection of the law and the regulatory system.

23             I guess I'll just, in the last minute or two,

24    turn to Daubert.       And, you know, I think we've briefed

25    it adequately.      There's no reliability challenge; it's
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 1    strictly a relevance challenge that the Plaintiffs have

 2    made.    They don't challenge the excellent work that

 3    Rebecca Kirk Fair's analysis group has done in this

 4    case on issues that we think are important both to

 5    class certification and to the merits of the case.

 6             And what she has shown through her own survey --

 7    she did a survey, and she also looked at past surveys

 8    that were done, one by Berkshire Bank in particular --

 9    what she has shown, again, is this great variation

10    among potential class members, among consumer checking

11    customers, that some wanted this, some wanted overdraft

12    protection, knew what they were getting, understood

13    they were going to be assessed fees, understood that

14    when they swiped their card at the POS, their balance

15    would be immediately reduced, and if they then had

16    another transaction, it would cause an overdraft, and

17    they would be charged a fee.

18             Many people understood that.           Some did not, and

19    there's a lot of variation in her study.              We think

20    that's important and helpful to the Court both now on

21    class certification and if we eventually have to argue

22    about whether the disclosures were deceptive or not,

23    whether the practices were deceptive or not.               We will

24    rely on Rebecca Kirk Fair for that.            It's completely

25    relevant to the issues in this case, and we think the
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 1    Daubert motion should be denied, Your Honor.

 2             Your Honor, I have nothing else.            I don't know

 3    if Your Honor has any final questions, or I'll just

 4    wait for surrebuttal.

 5             THE COURT:      I think you can wait.        I think you

 6    did a very nice job.

 7             MR. FREDERICO:       Thank you, Your Honor.

 8             THE COURT:      All right.     I'm going to step off

 9    for maybe ten minutes, and you can probably use that --

10    obviously, maybe 15, so just use that time

11    appropriately, and we'll come back and hear the

12    rebuttal and surrebuttal arguments, and perhaps I'll

13    have some more questions.

14             All right.

15             (Recess, 12:40 p.m.)

16             (Resumes, 1:15 p.m.)

17             THE COURT:      All right.

18             Most of the time during my break was spent

19    talking about your case, so maybe -- all right.                   Go

20    right ahead.

21             MR. SHALOV:      Thank you, Your Honor.         Lee Shalov

22    for the Plaintiff.

23             As expected, Your Honor, we heard a lot today

24    from defense counsel about the individual experiences

25    of many class members, some --
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 1             THE COURT:      You told me what they were going to

 2    say, and you were correct.          I think they explained it

 3    from their perspective better than you explained it for

 4    them, but yeah.

 5             MR. SHALOV:      Be that as it may, Your Honor --

 6             THE COURT:      No, but you announced it, it was

 7    very well done, so go ahead.

 8             MR. SHALOV:      The fact remains that we just have

 9    a difference of opinion about what the cases say.                 My

10    esteemed colleague suggests to you that our claims rely

11    upon a showing of what somebody knew and what somebody

12    perceived and what somebody read and what somebody

13    understood.

14             We demonstrated to you in spades, I think,

15    Your Honor, that the cases don't say that.              In fact,

16    the cases say precisely the opposite.             Every single

17    case that I'm aware of, with the exception of one 2003

18    case from the State of New Mexico, not even applying

19    Federal 23, expressly considered this exact same

20    argument and --

21             THE COURT:      Hold on one second.       Did you want to

22    say something?

23             MR. FREDERICO:       We had an agreement that the

24    predominance arguments would be presented by

25    Ms. Edwards, the typicality and adequacy arguments
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 1    would be presented by Mr. Shalov because I didn't agree

 2    to having two counsel responding to my -- or addressing

 3    my arguments at any one point.           I think it's unfair to

 4    now have Mr. Shalov arguing outside of the typicality

 5    and adequacy issues that he had already said he would

 6    argue.    I'm being double-teamed all of a sudden.

 7             THE COURT:      Well, it was probably unfair for you

 8    to give them your handout this morning too, so go

 9    ahead.

10             MR. SHALOV:      Thank you, Your Honor.

11             So, I think what the reality is, Your Honor, is

12    that every case has rejected this, and it's just not an

13    isolated number of cases; there are multiple cases that

14    we've cited in the brief, the Florida cases, the

15    TD Bank -- I don't have repeat myself because I think

16    we've said it to you before, and it's outlined in the

17    brief, but the cases just don't say what Mr. Frederico

18    says that they say.

19             If you look at our trial plan, Your Honor, just

20    by way of example, we outlined in the trial plan all

21    the elements of causes of action for breach of

22    contract, breach of the implied covenant of good faith

23    and fair dealing, conversion, unjust enrichment, the

24    consumer fraud statutes.         None of them, zero, require

25    an element of reliance.         They don't.
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 1             No breach of contract claim in any state that

 2    we're suing on behalf of residents of require an

 3    element of what the person understood when they read

 4    the contract, what the person actually saw, what

 5    interpretation could you plausibly give the contract.

 6    And I commend you, Your Honor, I'm sure, to a large

 7    extent, you've already looked at this, but I commend

 8    you to read the cases because they don't say what

 9    Mr. Frederico said that they said.            They don't require

10    a showing of reliance.

11             The 93A claim, the cases are uniform in saying

12    that reliance is not required.           What those cases do say

13    is you need a causal relationship -- that's the

14    language -- you need a causal relationship between the

15    misconduct and the damage.          You don't need to show what

16    the Plaintiff knew or what the Plaintiff understood,

17    and here you clearly have that.           They had a centralized

18    computer system that overcharged people in

19    circumstances in which they shouldn't have been

20    overcharged.      That deception, that misconduct caused an

21    injury in the form of an overdraft that a person should

22    not have incurred.        You have the element of causation.

23    93 has been established.         No need to show reliance.

24             Your Honor, I think, at the end of the day, the

25    TD Bank case said it best, that if you endorsed this
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 1    notion of what somebody read and what somebody

 2    understood and when they went in to the Bank and who

 3    they spoke to and what that person said, and if that

 4    was a basis to decertify, to deny certification, you

 5    could never have class action, you couldn't.               And

 6    here's what the TD Bank said in that case, and I think

 7    it's important here and worthy of the Court's

 8    consideration:      "If the Court were to find that this

 9    case could not be certified as a class action based

10    upon Defendants' assertion regarding the predominance

11    of individual issues, the logical consequence would be

12    that no contract-based claim would be certifiable

13    because any prospective defendant could defeat

14    certification simply by raising the spectre of putative

15    class members' idiosyncratic understanding of the terms

16    at issue."

17             So, I think what's clear, Your Honor, is if you

18    endorsed or you accepted this idea in contravention of

19    what every single case has said is not relevant, no

20    case could ever be certified.           You could have a

21    product-defect case involving a car, you could have an

22    overcharge case involving some other fee, and all the

23    defendants would have to do is walk in and say, Well,

24    you know, what was the person told when they bought the

25    car?    Did they like that car?         Did they like another
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 1    car?    Did they contemplate buying a used car?             And I

 2    think every case has come to the conclusion that that

 3    is not a valid argument.

 4             Let me get to the affirmative defenses for a

 5    second, Your Honor.

 6             THE COURT:      Well, that's why the defense took

 7    some time to talk to me, though, about the different

 8    degrees of relationship between some customers with the

 9    Bank versus other customers with the Bank, to kind of

10    highlight that issue.        And that in fact is true.            There

11    are people who have a high degree of interaction with

12    their bank, and there are people who don't open much of

13    the mail from the bank.

14             MR. SHALOV:      True.

15             THE COURT:      How does that play in to

16    what I heard from the defense regarding the

17    uniqueness-of-defense issue here and that cutting

18    against finding that there was typicality?

19             MR. SHALOV:      Well, let me address that,

20    Your Honor.      There are a couple of things on the

21    affirmative defenses.

22             The first thing I would note, Your Honor, is

23    that, for the first time, we're now hearing that there

24    are other potentially available defenses as to the

25    named Plaintiff.       I heard accord and satisfaction, I
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 1    heard waiver.      Respectfully, Your Honor, this is the

 2    first time that the Defendants have ever raised this

 3    argument.     It is not in their brief, and to show up in

 4    Court and make a new argument about other potential

 5    affirmative defenses I don't think is fair.

 6             But to the extent the Court considers it, as I'm

 7    sure it will, the cases are, again, very clear that

 8    affirmative defenses, accord and satisfaction, waiver,

 9    mitigation of damages, those don't defeat a finding of

10    typicality.      I refer you to the TD Bank case, I refer

11    you to the Gunter case, I refer you to the Florida

12    cases where the Defendants made exactly the same

13    arguments, Hey, we have an accord-and-satisfaction

14    defense as to this named Plaintiff, maybe the person

15    accepted the benefits of the charges; we have a waiver

16    defense; we have a laches defense, the person took too

17    long; we have a mitigation-of-damages defense because

18    the person mismanaged her account and had too many

19    overdraft fees.

20             You see that in every single case, Your Honor,

21    the Defendants argue the same exact thing.              And every

22    single case says, No, that's not a valid affirmative

23    defense, and the reason why the Courts say that is

24    because there's no showing that those defenses will, to

25    use the language of every single Court that I've seen
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 1    consider the issue, they do not consume the merits of

 2    case.    I heard some language about being sidetracked.

 3    I've never seen that language before.

 4             It probably appears in some case, that a case,

 5    you know, might be sidetracked, but when I read the

 6    District of Massachusetts cases, they say the

 7    following, and I'm reading from the Mass. Mutual case,

 8    which is a District of Massachusetts case, it says,

 9    "Yet the presence of an affirmative defense does not,"

10    does not, "automatically destroy typicality.               It is

11    only when the unique defense will consume the merits of

12    the case that a class should not be certified,"

13    consume the merits of the case.

14             And, again, I say to you, Your Honor, it might

15    be, when we get to trial, that Mr. Frederico and

16    counsel will spend some time with the Plaintiff and

17    say, You had a lot of overdraft charges; right?                   And

18    you didn't read your mail; right?            It might be true,

19    they might do that, but does that mean it's going to

20    consume the merits of the case?           It's a small part of

21    what this case is about, Your Honor.

22             This case is about hundreds of exhibits and

23    multiple witnesses who are going to talk about

24    contracts, they're going to talk about disclosures,

25    they're going to talk about other matters that are
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 1    common questions that apply to every single class

 2    member in exactly the same way.           So, the fact that

 3    there might be some time devoted to the trial

 4    concerning Ms. Bond, it's not surprising; it happens in

 5    every single trial, they're going to focus on the

 6    Plaintiffs' experience.         But that doesn't mean it'll

 7    consume the merits of the case.           It doesn't mean that

 8    the jury is going to be distracted by the individual

 9    experiences of the named Plaintiff, and it certainly

10    doesn't mean, it certainly doesn't mean that Ms. Bond

11    is going to spend any less time devoting her attention

12    to the interests of the class who she purports to

13    represent than her own interests.

14             So, this whole idea of consuming the merits of

15    the case just hasn't been substantiated, and the

16    Defendants haven't even come close, other than

17    invoking, as the Court said in the Credit Suisse case,

18    a mere incantation of the unique defense language.

19    Just saying somebody's going to be subject to a unique

20    defense doesn't make it so.

21             Let me get, Your Honor, to the bifurcation

22    issue.    And I think that case, which, again, is a

23    District of Massachusetts Court case, is emblematic of

24    the way that Courts in Massachusetts look at these

25    cases.    Courts in Massachusetts don't say, You know
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 1    what, I got an issue with a Plaintiff, I'm not going to

 2    certify the class, you're all out of luck.              That's not

 3    what Courts in Massachusetts say.

 4             What Courts in Massachusetts say is, I've got a

 5    whole group of people here who have arguably been

 6    injured by the same misconduct, and I'm going to find a

 7    way, if I can find a way utilizing the mechanisms

 8    available to me under Federal Rule 23, to certify the

 9    class and see if I can get compensation for those

10    people, to the extent that the jury concludes that

11    Plaintiffs have valid claims.           So, if I'm confronted

12    with a unique defense and somebody is going to be

13    sidetracked, to use their language, I'm not going to

14    say, Okay, everybody's out of luck and doesn't get

15    anything; I'm going to find a mechanism in place that

16    Courts utilize to confront these kind of situations.

17             I could bifurcate the issues, I could say, Okay,

18    let's adjudicate the common questions, the

19    predominating questions first, and if you can prove to

20    me, Mr. Defendant, that there's a real issue with the

21    Plaintiff, I'll bifurcate that for another time.

22    That's one mechanism in place.

23             THE COURT:      Yeah, defense talked about that

24    bifurcation and was fairly compelling in saying that

25    this -- how would that bifurcation work, or can it even
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 1    be applied?

 2             MR. SHALOV:      Of course.     It worked in that case,

 3    the Court found it appropriate.           I think they were

 4    focused on a different kind of bifurcation.               I wasn't

 5    quite clear about what he was saying.             What I'm saying

 6    is you're only bifurcating the unique -- assuming you

 7    even think that --

 8             THE COURT:      You're saying bifurcating in -- you

 9    know, if we have a little bit of dissimilarities, you

10    can bifurcate here and there --

11             MR. SHALOV:      Correct.

12             THE COURT:      -- and everyone kind of follows.

13             MR. SHALOV:      Correct.

14             THE COURT:      Defense is saying, No, we're

15    bifurcating big chunks of this case --

16             MR. SHALOV:      No.

17             THE COURT:      -- which become too confusing and

18    not manageable.

19             MR. SHALOV:      No, nobody's saying that,

20    Your Honor.

21             THE COURT:      At least I thought that's what they

22    were saying.      You'll have --

23             MR. SHALOV:      Well, he might.       But that's not

24    what the Court said in the Credit Suisse case.               What

25    the Court said is --
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 1             THE COURT:      Well, right, but the defense spent

 2    all, their time telling me why there are such

 3    dissimilarities in this case, that it would create

 4    bifurcation of big chunks and jury confusion.

 5             MR. SHALOV:      But we're not seeking to do that,

 6    Your Honor.      The only thing that the Court --

 7             THE COURT:      You're not seeking, but the reality

 8    is, the defense is saying, is that's what happens,

 9    what's going to happen here.

10             MR. SHALOV:      But that's not true.

11             THE COURT:      Okay, go ahead.

12             MR. SHALOV:      That's not true.       The only issue

13    concerning bifurcation has to do with the named

14    Plaintiff and the unique defense issue.             That's it.

15    Nobody's suggesting that we bifurcate an issue about

16    breach of contract, that we bifurcate an issue about a

17    consumer fraud claim.        That's what I think he was

18    addressing, but it has nothing to do with that.

19             All it has to do with is a circumstance where a

20    defendant walks in to Court, just like Berkshire Bank

21    has walked in to Court, and saying you got a

22    problematic Plaintiff, I got a unique defense as to

23    that Plaintiff, and the Court said, Okay, I'm not going

24    to -- I don't believe that, as a legal matter,

25    particularly here where all the cases say that issues
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 1    concerning damages are not of themselves a basis to

 2    find a unique defense.

 3             But put that aside.        Even if I find a unique

 4    defense as to that Plaintiff, here's what I'm going to

 5    do:   I'm going to adjudicate the common questions,

 6    we're going to get before the jury, the jury is going

 7    to consider the contracts, the jury is going to

 8    consider the disclosures, the jury is going to consider

 9    the computer system, and we're going to adjudicate all

10    those common questions.         And if you, Defendant, think

11    that you have a unique defense that's potentially

12    disqualifying as to the named Plaintiff, I can do that

13    later.

14             And Rule 23 actually contemplates that kind of

15    scenario where -- and I'm not suggesting it here, but

16    there's a mechanism in place where you could actually

17    adjudicate common questions and then deal with

18    individualized questions later.           That might be what he

19    was referring to.       I'm not quite sure.        We're not

20    proposing that, but all I'm saying is the Federal Rules

21    are incredibly pliable and flexible, and they bend over

22    backwards to make it so that, if you have a case where

23    people -- a lot of people have been harmed and you got

24    potential side issues concerning issues about, for

25    example, the named Plaintiff, the answer is not a
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 1    wholesale denial of class certification; the answer is,

 2    Let's find a way to see if we can adjudicate these

 3    claims.    You can do what the Court in Credit Suisse

 4    did, you can bifurcate the named Plaintiff's individual

 5    circumstance and adjudicate that later.             You can

 6    substitute Plaintiffs.         It happens all the time.

 7              And when I hear, for example, that it's too late

 8    to do this, let's not forget that the first time this

 9    was ever raised, ever, was when the Defendants served

10    their opposition brief in opposition to our motion for

11    class certification.        It's not like they said, after we

12    filed our complaint, We're going to attack your

13    Plaintiff on suitability and typicality grounds so that

14    we could go out and find other Plaintiffs.              As soon as

15    we got the opposition brief, they attacked Ms. Bond,

16    they said she was atypical, they said she's an outlier,

17    other people stepped forward.           That's just the

18    chronology.      It's not too late if the Court thinks that

19    that's appropriate, in the event that you believe that

20    the affirmative defense of unique -- mitigation of

21    damages is a viable defense.

22              So, it's just not too late, and I don't accept

23    that, Your Honor.       And if they wanted to take

24    discovery, we would have had Mr. -- this gentleman

25    deposed.     I mean, we had more than enough time between
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 1    the briefing to proffer him, to look at his documents.

 2    But I can tell you, Judge, having done this for many

 3    years, they would have found him unsuitable, they would

 4    have found something wrong with him.             He closed his

 5    account in 2014, so he's not suitable.             If we proffered

 6    somebody else, Oh, he wouldn't be suitable.

 7             Remember, because it made me chuckle a little

 8    bit, when defense counsel said, Well, we have to

 9    protect the interests of the class members.               They don't

10    care about the class members.           They want to walk out

11    the door with a "get out of jail free" card.               They

12    don't want any class certified.           It's like a phrase

13    from a case that I read a long time ago, it's like the

14    fox guarding with the hen house, and that's what it is.

15    Their only interest is in getting a class not

16    certified, that's it, so they don't really care.                  So,

17    there are many mechanisms in place, Judge.              We could --

18    even assuming you reject all these other legal matters

19    as to why this unique defense doesn't fly, but there

20    are other mechanisms in place to let this case go

21    forward.

22             Let me address the Bellermann case, which is the

23    new case that they cited.          Today we got it for the

24    first time.      The only thing I would note, Your Honor,

25    as I expected, this case had nothing to do with
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 1    overdraft charges.        It was about people who lost power

 2    in an ice storm, and theoretically they probably

 3    asserted some claim that had as an element of the claim

 4    reliance, so the Court said, Well, I have to look at

 5    everybody's individual understandings.             That doesn't

 6    surprise me.      When you assert a claim that has as a

 7    basis in that claim reliance, knowledge, understanding,

 8    perceptions, then you have to examine that, and maybe

 9    class certification is inappropriate.

10             But we carefully, carefully, Judge, constructed

11    our claim so that it would not be an issue.               We looked

12    at the TD Bank case very closely, we followed the trial

13    plan there, we looked at the decision there, and we

14    very carefully tailored our case to that case so that

15    wouldn't be an issue.

16             Unless the Judge has -- the Court has any

17    questions, I'll defer.

18             THE COURT:      All right.

19             MR. SHALOV:      Thank you, Your Honor.

20             THE COURT:      So, Attorney Frederico, to the

21    extent that you thought you might be getting

22    double-teamed, you're certainly -- even if that was so,

23    you're certainly up to the task, so --

24             MR. FREDERICO:       Thank you, Your Honor.

25             THE COURT:      -- go right ahead.
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 1             MR. FREDERICO:       And I also appreciate that he

 2    spent a lot of his time on typicality, so it wasn't

 3    that bad.     So --

 4             THE COURT:      I mean, what's being painted in a

 5    very nice way by very able counsel are two very

 6    different cases.       I need somebody to bring me to the

 7    middle here of what really the issues are, and you can

 8    argue however you want, but each of you coming at the

 9    polar opposites of where this case is and talking about

10    the extreme uniqueness of some and the Plaintiff

11    saying, Oh, there's no uniqueness, they're all the same

12    really in this, neither of those is exactly correct.

13             MR. FREDERICO:       Well, no.     That's right.         And

14    that's why the standard is predominance.              Rule 23(b)(3)

15    recognizes that, in most cases, there are going to be

16    both common issues and individual issues, and what the

17    Court has to weigh is, Which one outweighs the other?

18    Are there a predominance of individual issues?               Are

19    there a predominance of common issues?

20             THE COURT:      But isn't it true that there's

21    outliers in any type of class case?

22             MR. FREDERICO:       Well, I don't know about any

23    type of class cases --

24             THE COURT:      Generally speaking.

25             MR. FREDERICO:       -- but there are certainly going
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 1    to be outliers in class cases.

 2             Again, you know, to get back to where I started

 3    my argument earlier, the framework that Rule 23

 4    embodies is really a framework of fairness.               You

 5    don't -- you cannot, under the Rules Enabling Act,

 6    under the due process clause, certify a class if in

 7    doing so you are depriving a Defendant of some of its

 8    substantive rights or some of its procedural rights or

 9    expanding the rights of some members of the class.

10    And that's -- Rule 23 gives you the framework for

11    trying to avoid that kind of due process and Rules

12    Enabling Act violation.

13             What we're saying here is these people are so

14    differently situated by and large, that it's

15    unavoidable that, if you certify this class and then

16    the case goes to trial, we're going to be grabbing in

17    to this class a lot of people who have different

18    issues, many people who would admit and acknowledge, if

19    we had the opportunity to cross-examine each one of

20    them, that they were fine with the overdraft practices,

21    they understood them, they weren't harmed by them .

22    But by putting all these people in a class action,

23    we're deprived of the opportunity to identify those

24    people, eliminate them and not have to pay damages if

25    we were to lose the case at trial.            So that's the
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 1    balance, and --

 2             THE COURT:      What do you say when the Plaintiff

 3    argues that, if you apply that rationale, you're not

 4    going to have many class action suits, you might have

 5    one or two a year in the country, I mean --

 6             MR. FREDERICO:       No, I don't think that's

 7    right at all.      And certainly there are cases like

 8    this that perhaps shouldn't be certified, but there

 9    are plenty of other types of situations where there's

10    more uniform practices.         Take securities litigation,

11    for example.      In a securities case, there's often a

12    fraud-on-the-market theory, so that the theory is that

13    anybody who bought the stock based on a fraud on the

14    market is paying an appreciated value for the stock

15    that isn't reflective of the true facts, well, there

16    you had the market.        You do have an element of reliance

17    in those cases, but there's a presumption of reliance

18    because it was the market that relied on the

19    misrepresentations, and then everybody got -- had to

20    pay the same price.

21             That's a very different situation from what we

22    have here where you've got a little -- a certain

23    practice, a defined narrow practice but in a context

24    where it's not just somebody buying stock on a stock

25    exchange; it's a customer engage -- entering in to a
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 1    relationship with a bank, again, a high-involvement

 2    product, and having a lot of interaction with the

 3    people at the Bank.

 4             So, it's in that situation, so yes, you'll still

 5    have class actions, you'll have class actions where

 6    there are uniform practices affecting uniform people in

 7    products that are not as highly involved over a course

 8    of months or years as this one is.            But in this

 9    particular situation, it's different, it's really very

10    different.

11             We heard about there are mechanisms to certify a

12    class, and what I heard counsel saying, if I understood

13    it correctly, was that was just to bifurcate the claims

14    of the named plaintiff from different issues that

15    affect the class.       But that's not an -- I've never seen

16    any Court that has allowed -- found typicality in that

17    situation.     If there's a unique defense, typicality

18    isn't there.

19             Counsel said he had never heard this language

20    before about sidetracked.          Well, it's in the cases that

21    they cite.     It's in the Schwack case, which is a

22    District of Massachusetts case; it's in a decision by

23    Judge Saris, which cited the Schwack case.              And, again,

24    the standard there is not that it has to consume the

25    trial, but it has to be enough to sidetrack the trial.
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 1             You heard a little bit about the EFTA claim, and

 2    I would just add that the EFTA claim, there's a

 3    typicality argument we raise on the EFTA claim.                   It's

 4    in our briefs, it's in our notices of supplemental

 5    authority.     It has to do with the fact that we believe,

 6    under the majority rule of EFTA claims, Ms. Bond's

 7    claim is barred and -- time-barred under the statute of

 8    limitations.      Therefore, she doesn't have standing.

 9    There is a minority view that goes the other way.                   We

10    cited cases back and forth.          They cite a District of

11    Massachusetts case, which, frankly, we neglected to

12    cite in our brief for which I apologize, but we cited a

13    District of New Hampshire case that talks about it, so

14    we weren't trying to hide the ball.            But under the

15    majority rule, she has no standing to bring an EFTA

16    claim.    One judge in this District, and I don't

17    remember who it was, feels otherwise, you know,

18    interprets the statute of limitations differently, but

19    again, that's a minority rule.

20             I think the one other thing I guess I would

21    leave you with, Your Honor, is that, if there were any

22    way to try to manage this litigation to address all

23    these individual issues through bifurcation or any

24    other mechanism, that's really just kicking the problem

25    down the road because, ultimately, some trier of fact
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 1    is going to have to probe those individual issues and

 2    decide who's entitled to relief, if anybody, who's not

 3    entitled to relief, who's -- what damages people are

 4    going to get if there is a judgment for the Plaintiff,

 5    again, we don't believe there should be a judgment for

 6    the Plaintiff, but if there is.           And that just kicks

 7    the can down the road.         Rule 23 requires the Court to

 8    take a look at the whole case, decide predominance

 9    based on the whole case.

10             THE COURT:      What do you say about the difficult

11    position you're in of trying to talk about the TD Bank

12    case?

13             MR. FREDERICO:       Right.    So, again, there's

14    a -- there are two distinctions, and I neglected to

15    mention one of them.        One of the distinctions, as I

16    mentioned earlier, is that it was a uniform contract,

17    so that issue is out of that case.            You don't have

18    these nine different variations of the contract over a

19    period of seven years.

20             The other distinction is that there were about

21    25 named plaintiffs in that case.            There wasn't one

22    Sandra Bond.      There wasn't one atypical Plaintiff.

23    They covered the bases by having a lot of different

24    plaintiffs, so the typicality -- we could challenge

25    typicality for some people.          We weren't going to be
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 1    able to challenge typicality for everybody.

 2             That's a distinction here.          It doesn't help them

 3    with the typicality issues in this case.              And, as I

 4    mentioned before, you know, we just think that that

 5    decision was wrongly decided, so...

 6             THE COURT:      Fair enough.     All right.

 7             MR. FREDERICO:       Thank you, Your Honor.

 8             THE COURT:      Thank you.

 9             I am interested in just going back and forth

10    maybe one more time, like, two or three minutes, if you

11    just want to -- you want to pick up on or just

12    highlight some of the points that you think were just

13    made?    I mean --

14             MR. SHALOV:      Would you like me to approach?

15             THE COURT:      Go ahead, yeah.      Go ahead.

16             MR. SHALOV:      Oh, I'm sorry.      I thought you might

17    have questions for me.

18             THE COURT:      Whatever you want to say.         No, no.

19    I just -- I'm giving you the opportunity, if you want,

20    just to have another round here.

21             MR. SHALOV:      Your Honor, a couple of things.            I

22    heard that this case is different than a securities

23    fraud case.      In a prior life, I used to litigate these

24    security fraud cases, and the fraud-on-the-market

25    theory is just a presumption.           Reliance is a major
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 1    issue in those cases.        So, you know, in circumstances

 2    where the presumption has been rebutted, the Defendants

 3    can make arguments about, you know, what a person read

 4    and what a person reviewed and what a person relied

 5    upon when they purchased the stock.            So, it's not like,

 6    you know --

 7             THE COURT:      Well, it's not so much a person

 8    relying upon; it's the market relying upon it.

 9             MR. SHALOV:      Right.    But then my only point is

10    that trying to make a distinction about a case that is

11    appropriate for certification, and he's citing

12    securities fraud cases because there's a presumption of

13    reliance, but all it is, is a presumption, it's a

14    rebuttal presumption.        That's all I wanted to point out

15    out.

16             Your Honor, I guess at the end of the day, you

17    have to decide which of the cases is the more

18    compelling line of cases.          I know you're going to look

19    at TD Bank, and I know you're going to look at all the

20    Florida cases and the Gunter decisions, and they all

21    address the same arguments that the Defendants raise

22    here, and it's ultimately what you think is appropriate

23    in terms of what's fair to these people who got

24    improperly overcharged, and hopefully you'll come out

25    on the side of following these cases.
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 1             THE COURT:      Well, and I appreciate the need to

 2    be -- for fairness to the class, or potential class,

 3    but as Attorney Frederico pointed out, there's an

 4    element of fairness to the Defendant as well.

 5             MR. SHALOV:      Your Honor, defendants make that

 6    argument all the time, they come up and --

 7             THE COURT:      Well, that doesn't mean it doesn't

 8    have merit.

 9             MR. SHALOV:      Well, it might have merit, but

10    there are ways of dealing with that.

11             THE COURT:      Okay.

12             MR. SHALOV:      So, defendants get up and say, Well

13    we're going to be prejudiced because we don't have the

14    opportunity to raise these issues.            It's just not true.

15    As a matter of trial procedure, Defendant retains the

16    right to make all these arguments whenever it wants.

17    If it -- and the interesting thing to me, I think,

18    among other things, is they had the opportunity,

19    Your Honor, during a long period of discovery to

20    proffer at a deposition or in a declaration one

21    Berkshire Bank customer who said, I looked at these

22    disclosures, I understood what available balance means,

23    and I don't think I have a case, not one.              You won't

24    find a single declaration, you won't find a single

25    piece of deposition testimony.           This is all
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 1    hypothetical conjecture about these supposed individual

 2    variations that people have.

 3              Now, it's true that the record contains

 4    reference to that from the expert report of Ms. Fair,

 5    but she didn't interview a single Berkshire Bank

 6    customer.     So, the underlying evidence just doesn't

 7    exist about these hypothetical scenarios where people

 8    have different understandings and different

 9    perceptions, and you can't walk in to Court and try to

10    oppose a motion for class certification and base your

11    entire argument about some hypothetical scenario that

12    you don't have any proof for.

13              THE COURT:     Okay.

14              MR. SHALOV:     Thank you, Your Honor.

15              THE COURT:     All right.     Thank you.

16              THE COURT:     Last word.

17              MR. FREDERICO:      Thanks, Your Honor.

18              Well, first of all, I just want to address two

19    points.     One is regarding this hypothetical conjecture

20    that Mr. Shalov says we're engaged in.             It's not right.

21    We've submitted declarations from several customer

22    service representatives, the names are Tanner, Gagne, I

23    think there's one or two others --

24              MR. RITCHIE:     Masterson.

25              MR. FREDERICO:      -- who all testified to the fact
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 1    that, in their interactions with customers, it's clear

 2    that customers have a variety of understandings and

 3    preferences and choices that they make with respect to

 4    overdrafts.

 5             And the other point I'll make is, regardless of

 6    all these other cases that I keep hearing about, most

 7    of which are factually different from ours, not the

 8    TD Bank case so much, although it is in some respects,

 9    ultimately, this Court has to decide this case on this

10    record under this jurisdiction's law.             And Rule 23 and

11    all the cases under it are very clear that class

12    certification requires a rigorous analysis.

13             So, regardless of what other Courts have done on

14    specific facts and specific other cases, this Court has

15    to make a ruling on this record, and we think that

16    Plaintiffs, who bear the burden of proof under Rule 23,

17    have failed to meet their burden.

18             Thank you, Your Honor.

19             THE COURT:      All right.     Thanks.    Okay, very

20    good.    Thank you to both sides.         All right.

21             MR. FREDERICO:       Thank you, Your Honor.

22             MR. SHALOV:      Thank you, Your Honor.

23             MS. EDWARDS:      Oh, just for clarification,

24    Your Honor, we had stipulated to amend two of our

25    exhibits so that they're 100 percent accurate and
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 1    complete and actually include the entire statements

 2    that are referred to within the body of the brief.                So,

 3    I have them.      They're Exhibit 33 and Exhibit 35.

 4             THE COURT:      That's an agreed amount?

 5             MR. FREDERICO:       Yes, Your Honor.       No objection.

 6             THE COURT:      Okay, agreed between the parties.

 7    That's allowed.

 8             (Adjourned, 1:50 p.m.)

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 9                  I, Debra D. Lajoie, RPR-FCRR-CRI-RMR, do

10    hereby certify that the foregoing pages are a true and

11    accurate transcription of my stenographic notes in the

12    above-entitled case.

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18                        /s/ Debra D. Lajoie

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